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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF KENTUCKY
                                       LOUISVILLE DIVISION

United States of America                                        }
                      PLAINTIFF                                 }
                                                                }
v.                                                              }      CIVIL ACTION 3:24-CV-00722-BJB
                                                                }
Louisville Jefferson County Metro Government                    }
                      DEFENDANT                                 }


    RIVER CITY F.O.P. LODGE 614, INC.’S SUPPLEMENT TO COURT’S JANUARY 13,
                 2025 HEARING RE: PROPOSED CONSENT DECREE




         Comes the proposed Intervenor, River City F.O.P. Lodge 614, Inc. (hereinafter “Lodge

614”), by and through counsel, and pursuant to the Court’s instructions at the conclusion of the

hearing held in this matter on Monday, January 13, 2025, 1 respectfully requests the Court postpone

entrance of any proposed consent decree in this matter, if at all, until Lodge 614’s Motion to

Intervene (DN 17) has been ruled upon and, assuming it is granted, the potential conflicts between

Lodge 614’s collective bargaining agreements (“CBAs”) and the proposed consent decree have

been resolved. In support of this request, Lodge 614 offers the following supplementation to the

discussion had during the January 13, 2025, hearing:




1
  Based on the undersigned counsel’s understanding, the Court, at the conclusion of the January 13, 2025 hearing,
indicated that any party wishing to be heard further or to supplement the record with regard to the topics discussed
during the hearing was to give notice of such desire and/or file their supplementation no later than Friday, January 17,
2025. While Lodge 614 has not yet been granted intervention as a party in this case, Lodge 614’s perception that the
proposed consent decree conflicts with its collective bargaining agreements was discussed at the beginning of the
hearing, but only to the extent relevant to its motion to intervene. Lodge 614 wishes to now supplement that discussion
with helpful authority regarding the implication of such conflicts and/or potential conflicts on these proceedings at a
more general level and respectfully requests this filing be accepted by the Court.
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                                          INTRODUCTION

        As the Court and parties are well aware, Lodge 614 has sought to intervene in this case as

a matter of right pursuant to Fed. R. Civ. P. 24(a) to protect its collective bargaining rights. DN

17; DN 31. Lodge 614’s desire for intervention is premised in large part upon its identification of

actual and potential conflicts existing between its CBAs with Defendant, Louisville/Jefferson

County Metro Government (“Louisville Metro”), and the proposed consent decree tendered by

Plaintiff, United States of America, and Louisville Metro. DN 31, pp. 3-7. At this juncture, Lodge

614’s motion to intervene is still pending, and thus far Lodge 614’s discussion of the conflicts it

has preliminarily identified between its CBAs and the proposed consent decree has been limited

to the purpose of showing it has a substantial interest in this case such that it is entitled to intervene.

Id. However, the potential for impairment of Lodge 614’s collective bargaining rights has other,

more general implications on this action because “parties who choose to resolve litigation through

settlement[,]” including a consent decree, “may not dispose of the claims of a third party, and a

fortiori may not impose duties or obligations on a third party, without that party's agreement.”

Loc. No. 93, Int'l Ass'n of Firefighters, AFL-CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 529,

106 S. Ct. 3063, 3079, 92 L. Ed. 2d 405 (1986). As explained below, this settled legal notion

precludes the Court from entering any proposed consent decree in this case until the conflicts

between the CBAs and proposed consent decree have either been (a) resolved through negotiations

and agreement with the parties, or (b) deemed necessary by the Court to remedy legal violations

by Louisville Metro after a trial on the merits.

                                      LAW AND ARGUMENT

        The Supreme Court of the United States and circuit courts across the country have

consistently held that parties in litigation may not unilaterally settle their disputes through the use
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of a consent decree that impairs the rights of others, including the collective bargaining rights of

unions arising under agreements they have with one of the parties. Id.; W.R. Grace & Co. v. Loc.

Union 759, Int'l Union of United Rubber, Cork, Linoleum & Plastic Workers of Am., 461 U.S. 757,

771, 103 S. Ct. 2177, 2186, 76 L. Ed. 2d 298 (1983) (“Absent a judicial determination, the

Commission, not to mention the Company, cannot alter the collective bargaining agreement

without the Union's consent”); United States v. City of Los Angeles, Cal., 288 F.3d 391, 400 (9th

Cir. 2002) (“Except as part of court-ordered relief after a judicial determination of liability, an

employer cannot unilaterally change a collective bargaining agreement as a means of settling a

dispute over whether the employer has engaged in constitutional violations”); United States v. City

of Hialeah, 140 F.3d 968, 983 (11th Cir. 1998) (“One party to a collective bargaining agreement

cannot use the device of a nonconsensual consent decree to avoid its obligations, which the other

party negotiated and bargained to obtain”). People Who Care v. Rockford Bd. of Educ. Sch. Dist.

No. 205, 961 F.2d 1335, 1337 (7th Cir. 1992) (holding that parties to a consent decree “may not

alter collective bargaining agreements without the union's assent”). This rule exists so as to not

“undermine the federal labor policy that parties to a collective bargaining agreement must have

reasonable assurance that their contract will be honored.” W.R. Grace & Co., 461 U.S. at 771, 103

S. Ct. at 2186, 76 L. Ed. 2d 298. Instead, contractual rights may only be impaired by the court if

liability “is found after a trial at which the affected parties are represented” and impairment of the

rights is “a necessary and appropriate remedy.” City of Hialeah, 140 F.3d at 983; City of Los

Angeles, 288 F.3d at 400 (holding police union’s rights could be set aside only “as part of court-

ordered relief after a judicial determination of liability”).

        Thus where, as here, conflicts may exist between a union’s collective bargaining

agreements and the proposed consent decree, any such conflicts must be resolved before the
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consent decree can be entered. As a practical matter, such conflicts can be resolved in one of two

ways: “at a bargaining table at which the union[ is] present[,]” or “pursuant to a decree entered

after a trial at which all affected parties have had the opportunity to participate[.]” City of Hialeah,

140 F.3d at 983.

        Neither have occurred in this case. The United States’ investigation and negotiation of the

proposed consent decree have taken almost four years. The negotiation of the current CBAs

between Louisville Metro and the Lodge took more than one year. Last year, Lodge 614 asked

the United States to allow Lodge 614 to participate in the negotiation of the proposed consent

decree and the United States refused. Lodge 614’s motion to intervene is still pending, and as

previously expressed, Lodge 614 is still completing its comparison of the 242-page proposed

consent decree to its own lengthy CBAs to evaluate the actual and potential conflicts between them

because Lodge 614 has only been afforded a few short weeks to engage in that analysis. Thus,

this case is not in a posture where serious contemplation of entering the proposed consent decree

by the Court is yet appropriate. Given the length of time that the parties have taken negotiating

the proposed consent decree to the exclusion of interested stake holders, allowing those stake

holders a reasonable amount of time to complete an analysis of the proposed consent decree and

its effect on their respective rights is the only equitable solution. It is Lodge 614’s hope and desire

that, once its review is complete, it can work with the parties to resolve the potential impairment

of its collective bargaining rights through diligent negotiations. Should those efforts fail, however,

the Court’s adjudication may be necessary.

                                          CONCLUSION

       For these reasons, Lodge 614 respectfully requests that if the Court is inclined to enter the

proposed consent decree, it refrain from doing so until Lodge 614 is allowed a reasonable amount
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of time to complete its analysis regarding the consent decree’s inconsistency with Lodge 614’s

CBAs and any inconsistencies have been finally resolved.



                                                   Respectfully submitted,

                                                   /s/ Kyle M. Vaughn
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                               CERTIFICATE OF SERVICE

        It is hereby certified that on this 17th day of January 2025, the foregoing document was
filed with the CM/ECF filing system and sent via U.S. Mail to:

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